
Lower Tribunal No(s).: 1D16-4555; 462012CA002019FXXXXX
This cause having heretofore been submitted to the Court on Certified Direct Conflict of Decisions pursuant to Article V, Section 3(b), Florida Constitution (1980), and Florida Rule of Appellate Procedure 9.030(a)(2)(A)(vi), and the Court having determined that it should decline to exercise jurisdiction, it is ordered that the Petition for Review is denied..
No Motion for Rehearing will be entertained by the Court. See Fla. R. App. P. 9.330(d)(2).
LABARGA, C.J., and CANADY, POLSTON, and LAWSON, JJ., concur.
LEWIS, J., dissents with an opinion, in which PARIENTE and QUINCE, JJ., concur.
